Case: 2:20-mj-00480-CMV Doc #: 3 Filed: 07/16/20 Page: 1 of 2 PAGEID #: 7
Case: 2:20-mj-00480-CMV *SEALED* Doc #: 2 Filed: 07/13/20 Page: 1 of 2 PAGEID #:5

AO 93 (Rev, HN 13) Search and Semure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

Case No. JP mA é AZO

In the Matter of the Search of

U.S. Postal Service Priority Mail parcel bearing label no. 9505
5148 5394 0188 5839 89 addressed to "T, Floyd, 18008 Timber
Ln. Marysville, OH 43040."

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of Ohio, Eastern Division
(identifi the persan ar deseribe the praperty te be searched and give its locations:

U.S. Postal Service Priority Mail parcel bearing label no. 9505 5148 5394 0189 5839 89 addressed to “T. Floyd, 18008 Timber Ln.
Marysville, OH 43040."

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and scize the person or propeny
described above, and that such search will reveal ¢adenifi the person or cdeserihe the property to be seiseds?

A quantity of a controlled substance and/or proceeds which are evidence thereo!, andfor contraband, in violation of Titie 21, United States
Code, Sections 841(a}(1) and 843(b).

YOU ARE COMMANDED to exccute this warrant on or before a a ie 24> fot to exceed 11 davs)
# inthe daytime 6:00 a.m. to 10:00 paw. Oat any time in the day or night because good cause has heen established,

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises. the property was taken, or leave the copy and receipt at the place where the

property was taken.
The officer executing this warrant. or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to fpnn A 7
(United Netivs Mayristrate dialed

Pursuant to 18 U.S.C. § 3103a(b), | find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the personavhoanr whose
property, will be searched or seized (check the appropriate has) POT NTES Digs®

O for days fnot to exceed 30) 1 until, the facts justifying, the later specific date of :

Date and time issued: 7 I 20 (a Z: “ Ip ™“ CAN

Citic al eenee COLUMBUS, OHIO CHELSEY M. VASCURA

   
     

 

 
Case: 2:20-mj-00480-CMV Doc #: 3 Filed: 07/16/20 Page: 2 of 2 PAGEID #: 8
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AO 93 (Rev, 14/13} Search and Seizure Wasrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and invantory left with:
Jo-m\-USo0 | 113/20 - 24S?“

 

 

 

Inventory made in the presence of ; Dy. Joho en ( DASPecko,—

Inventory of the property taken and name of any person(s) seized:

(5-3 os of Hawt anna ond CHC Fedeee .

 

 

 

, Ceriiieation

 

| declare under penalty of perjury that this inventory {s correct and was returned along with riginal warrant to the

~ 2 HAGE

MOHAMED A. SABRAH, U.S. POSTAL INSPECTOR
Printed name and title

 

 

 

 

 
